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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
                                                                    Case: 1:21−mc−00084
                                                                    Assigned To : Sullivan, Emmet G.
IN RE PRESS COALITION’S MOTION FOR                   Case No.       Assign. Date : 6/7/2021
ACCESS TO VIDEO EXHIBITS AND TO                                     Description: Misc.
SET ASIDE STANDING ORDER NO. 21-28                   Oral Argument Requested


                     MOTION FOR ACCESS TO VIDEO EXHIBITS
                    AND TO SET ASIDE STANDING ORDER NO. 21-28

       Pursuant to Local Criminal Rule 57.6, Cable News Network, Inc., American

Broadcasting Companies, Inc. d/b/a ABC News, The Associated Press, Buzzfeed, Inc. d/b/a

BuzzFeed News, CBS Broadcasting Inc. o/b/o CBS News, Dow Jones & Company, Inc.,

publisher of The Wall Street Journal, The E.W. Scripps Company, Gannett Co., Inc., Gray Media

Group, Inc., Los Angeles Times Communications LLC, publisher of The Los Angeles Times,

National Public Radio, Inc., NBCUniversal Media, LLC d/b/a NBC News, The New York Times

Company, Pro Publica, Inc., Tegna, Inc., and WP Company LLC, d/b/a The Washington Post

(together, the “Press Coalition”) respectfully move this Court for an order releasing certain video

recordings (the “Video Exhibits”) submitted to the Court in United States v. Jack Wade Whitton,

Case No. 21-cr-35-EGS-5. The Press Coalition further requests that the Court set aside Standing

Order No. 21-28 (BAH) (May 14, 2021), which unduly restricts public access to the Video

Exhibits.

       The Press Coalition’s interest in this matter, a statement of the relevant facts, and a

specific prayer for relief are each set forth in the accompanying Memorandum of Points and

Authorities.

                                  REQUEST FOR HEARING

       The Press Coalition respectfully requests a hearing on this Motion.
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Dated: June 7, 2021       Respectfully submitted,

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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


IN RE PRESS COALITION’S MOTION FOR     Case No.
ACCESS TO VIDEO EXHIBITS AND TO
SET ASIDE STANDING ORDER NO. 21-28     Oral Argument Requested



MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR
ACCESS TO VIDEO EXHIBITS AND TO SET ASIDE STANDING ORDER NO. 21-28


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                                PRELIMINARY STATEMENT

       No American can reasonably dispute the recent observation of the Court of Appeals for

the District of Columbia Circuit: “[T]he violent breach of the Capitol on January 6 was a grave

danger to our democracy.” United States v. Munchel, 991 F.3d 1273, 1284 (D.C. Cir. 2021).

The public’s interest in the administration of justice has never been greater than it is with the

criminal cases arising out of this dangerous threat to the peaceful transfer of authority. To

reinforce the public’s confidence in the stability of our government, the courts must ensure

maximum public transparency for the unprecedented prosecutions in the Capitol Cases.

       In this motion, Cable News Network, Inc., American Broadcasting Companies, Inc. d/b/a

ABC News, The Associated Press, Buzzfeed, Inc. d/b/a BuzzFeed News, CBS Broadcasting Inc.

o/b/o CBS News, Dow Jones & Company, Inc., publisher of The Wall Street Journal, The E.W.

Scripps Company, Gannett Co., Inc., Gray Media Group, Inc., Los Angeles Times

Communications LLC, publisher of The Los Angeles Times, National Public Radio, Inc.,

NBCUniversal Media, LLC d/b/a NBC News, The New York Times Company, Pro Publica,

Inc., Tegna, Inc., and WP Company LLC, d/b/a The Washington Post (together, the “Press

Coalition”) seek to advance the public interest by obtaining videos that the Government

submitted to this Court in Case No. 21-cr-35-EGS-5 as evidence that Defendant Jack Wade

Whitton should remain in detention pending trial. These videos (the “Video Exhibits”) are

judicial records to which the public has a right of access under both the First Amendment and

common law. The Court should release them, without restriction, immediately.

       Moreover, to fully vindicate the public’s right of access, the Court also should set aside

Standing Order No. 21-28 (BAH) (May 14, 2021) (the “Standing Order”), which unduly restricts

transparency in this proceeding. While intended to facilitate access to the Video Exhibits, the

Standing Order actually limits access here in three ways: (1) by default, it contravenes the


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longstanding presumption of openness by permitting the Government to delay disclosure for

three days after any order to release videos; (2) it provides access to Video Exhibits only to

“credentialed” members of the press, and not the public; and (3) it presumptively restricts

republication of lawfully-obtained Video Exhibits without a finding that such a restriction

furthers a state interest of the highest order.

        The need for contemporaneous, comprehensive access to the record of these prosecutions

is even clearer now, as bipartisan efforts to establish an independent commission to investigate

the Capitol riot have stalled in Congress. See Ryan Nobles et al., Senate Republicans block

January 6 commission, CNN (May 28, 2021), https://www.cnn.com/2021/05/28/politics/january-

6-commission-vote-senate/index.html. With the Legislative Branch deadlocked, and the

Executive Branch already responsible for prosecuting the Capitol Cases, the Judicial Branch

alone can offer the public an objective inquiry into the events of January 6. This Court should

therefore ensure that these proceedings are as transparent as the Constitution and the common

law require. The Court should make the Video Exhibits available to the public immediately and

without restrictions on their republication.

                                          BACKGROUND

I.      The Riot At The United States Capitol

        On January 6, 2021, thousands of rioters operating under “the guise of First Amendment-

protected activity” stormed the United States Capitol in a “blatant and appalling disregard for our

institutions of government and the orderly administration of the democratic process.” See

Director Wray’s Statement on Violent Activity at the U.S. Capitol Building, FBI (Jan. 7, 2021),

https://www.fbi.gov/news/pressrel/press-releases/director-wrays-statement-on-violent-activity-

at-the-us-capitol-building-010721. In response, federal law enforcement agencies “deployed

[their] full investigative resources . . . to aggressively pursue those involved in criminal activity.”


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Id. The Department of Justice has since charged more than 400 individuals, including the

Defendant in this case, with crimes committed during the Capitol riot. See, e.g., Capitol Breach

Cases, Dep’t of Justice, https://www.justice.gov/usao-dc/capitol-breach-cases.

       According to the Department of Justice, “[t]he investigation and prosecution of the

Capitol Attack will likely be one of the largest in American history, both in terms of the number

of defendants prosecuted and the nature and volume of the evidence.” Mot. to Continue and

Exclude Time at 1, U.S. v. Caldwell, No. 21-cr-28 (D.D.C. Mar. 12, 2021), Dkt. 73. Among that

evidence is “more than 15,000 hours of surveillance and body-worn camera footage from

multiple law enforcement agencies,” id. at 2, including the Video Exhibits at issue in this motion.

       A.      This Case

       In this case, the Government has charged Whitton with “eight serious misdemeanor and

felony offenses arising from his participation in the events at the U.S. Capitol on January 6,

2021.” Mem. Op. at 1, Dkt. 60. The Government alleges that Whitton and others participating

in the riot “brutally” beat three Metropolitan Police Department (“MPD”) officers. See Mot. for

Emergency Stay and for Review and Revocation of Release Order at 5, Dkt. 35. Magistrate

Judge Regina D. Cannon of the U.S. District Court for the Northern District of Georgia initially

ordered Defendant to be released before trial, and the Government moved for review and

revocation of that ruling in this District. Id. Following a hearing on April 12, 2021, this Court

granted the Government’s motion. See Mem. Op., Dkt. 60.

       B.      The Video Exhibits

       In its request for Defendant to remain in detention pending trial, the Government

proffered that video footage, including body-worn camera (“BWC”) footage, shows Whitton

assaulting an officer “with a crutch” and “pull[ing]” the officer “out into the crowd.” See Dkt.

35 at 6-10. The Government also stated that BWC footage shows Whitton kicking at another


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officer. Id. at 8. The Government submitted six Video Exhibits in connection with its motion

and included still images of videos in its motion. See Gov’t Ex. List, Dkt. 49.

       In granting the Government’s motion, this Court noted that “[t]he government has

proffered a substantial amount of evidence that, at this stage, supports the charges against Mr.

Whitton and favors Mr. Whitton’s detention pending trial,” including “BWC video footage from

multiple MPD officers, video footage from publicly available sources, [and] U.S. Capitol

surveillance images.” Mem. Op. at 27, Dkt. 60. The Court further stated that this “video

evidence clearly shows Mr. Whitton not only attacked MPD officers with a crutch, but also that

he was the first member of the mob on the lower western terrace to drag an MPD officer from his

post under the archway into the crowd, which kicked off terrifying assaults on [two officers],

resulting in injury to both.” Id. at 27-28.

II.    The Standing Order

       This is not the Press Coalition’s first effort to increase public access to the Capitol Cases.

On March 24, 2021, the Press Coalition moved for access to videos that had been shown in open

court and submitted as exhibits in support of detaining defendant George Tanios before trial. See

Mot. for Access, In re Application for Access to Certain Sealed Video Exhibits, No. 21-mc-34-

TFH (D.D.C. Mar. 24, 2021) (seeking access to videos in U.S. v. Tanios, No. 21-cr-222-TFH-2).

The Government initially opposed releasing those videos, only to agree to produce them shortly

before a hearing was set to be held on the access motion. See, e.g., Katelyn Polantz, Justice

Department releases video of attack on Capitol Police officer, CNN (Apr. 28, 2021),

https://www.cnn.com/2021/04/28/politics/brian-sicknick-capitol-riot-videos/index.html. Videos

first shown in open court on March 22 were finally released on April 28, more than a month after

the prosecution, defense counsel and the court viewed them in a public court proceeding. In




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finally releasing these videos, the Government did not seek, and the court did not impose, any

restrictions on the news media in sharing those videos with the public.

       Subsequently, in an attempt to expedite disclosures of these court records moving

forward, the Press Coalition wrote to Chief Judge Beryl A. Howell to request entry of a Standing

Order directing the Government to proactively release all unsealed video exhibits in the Capitol

Cases to a representative member of the press. The press then would have been responsible for

distributing the videos to other news organizations and making them accessible to the public.

See Mot. to Access Video Exhibits, In re Press & Public Access to Video Exhibits in the Capitol

Riot Cases, No. 21-mc-46-BAH (D.D.C. May 3, 2021). The Chief Judge largely rejected that

request. Instead, the Standing Order permits the Government to unilaterally edit videos before

releasing them, permits access only to a “member of the media with necessary access credentials

provided by the government,” and expressly prohibits any copying or redistribution:

               Members of the media seeking access to video exhibits submitted
               to the Court in Capitol Cases may file an application, pursuant to
               [Local Criminal Rule 57.6], to the presiding judge in the case, or if
               no judge has been assigned, to the Chief Judge, for determination,
               and the judge may seek the position of the parties. Upon grant of
               such media application, the government shall make the video
               exhibit available to any member of the media with necessary
               access credentials provided by the government, unless the order
               otherwise limits access. Members of the media provided access to
               video exhibits in a particular case pursuant to such order may view
               those exhibits using the “drop box” technical solution proposed by
               the [United States Attorney’s Office for the District of Columbia].
               No recording, copying, downloading, retransmitting, or further
               broadcasting of video exhibits in a particular case is permitted,
               unless such permission is granted by the presiding judge, who may
               seek the position of the parties.

Standing Order at 5-6. 1


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 The Standing Order is available at https://www.dcd.uscourts.gov/sites/dcd/files/SO%2021-
28_Pandemic_Media%20Access%20to%20Video%20Exs%20in%20Pretrial%20Capitol%20Cas
es_20210514.pdf. For this Court’s convenience, a copy is attached as Exhibit A to this motion.


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                                           ARGUMENT

       Strict application of the First Amendment and the common law are essential in all of the

Capitol Cases. The Court should adhere to these protections and order the immediate release of

the Video Exhibits in this case. Moreover, the Standing Order does not conform to the well-

established First Amendment and common law requirements for contemporaneous access to, and

the unrestricted right to redistribute, court records. The Press Coalition therefore also asks this

Court to set aside the Standing Order.

I.     The Court Should Release The Video Exhibits Immediately

        The Court should immediately release the Video Exhibits for two independently

sufficient reasons. For one, because the First Amendment right of access applies to the Video

Exhibits, they should be released because neither the Government nor the Defendant could

possibly show that continued secrecy “is essential to preserve higher values and is narrowly

tailored to serve that interest.” Dhiab v. Trump, 852 F.3d 1087, 1102 (D.C. Cir. 2017)

(Williams, J., concurring). For another, the common law access right also applies to the Video

Exhibits, and “[a]lthough [this] right is not absolute, there is a strong presumption in its favor,”

which cannot be rebutted on the facts of this case. See Metlife, Inc. v. Fin. Stability Oversight

Council, 865 F.3d 661, 663 (D.C. Cir. 2017); United States v. Jackson, 2021 U.S. Dist. LEXIS

49841, at *13-24 (D.D.C. Mar. 17, 2021) (granting access to video exhibits under common law).

       A.      The Court Should Release The Video Exhibits Under The First Amendment

        “The Supreme Court has sketched a two-stage process for resolving whether the First

Amendment affords the public access to a particular judicial record or proceeding.” Dhiab v.

Trump, 852 F.3d 1087, 1102 (D.C. Cir. 2017) (Williams, J., concurring). “First the court must

determine whether a qualified First Amendment right of public access exists. If so, then . . . the

record or proceeding may be closed only if closure is essential to preserve higher values and is


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narrowly tailored to serve that interest.” Id. (internal marks and citations omitted). Here, the

right of access clearly attaches to the Video Exhibits, and neither the Defendant nor the

Government could possibly carry the weighty burden to overcome that right and justify

withholding them from the public.

               1.      The First Amendment access right attaches to the Video Exhibits

       Courts follow the “experience and logic” test to determine the constitutional right of

access to records or a proceeding. Press-Enter. Co. v. Super. Ct. (“Press-Enterprise II”), 478

U.S. 1, 9 (1986). Under this test, the right of access attaches if “the place and process have

historically been open to the press and general public” and if access “plays a significant positive

role in the function of the particular process.” Id. at 8. Applying this test here, the constitutional

right of access plainly attaches to the Video Exhibits.

       It is already well settled that “[t]he First Amendment guarantees a qualified right of

public access to criminal proceedings” and related judicial records. In re Application of WP Co.,

201 F. Supp. 3d 109, 117 (D.D.C. 2016) (citing Globe Newspaper Co. v. Super. Ct., 457 U.S.

596, 603-04 (1982)). Moreover, this access right clearly applies to pretrial proceedings as well.

See Press-Enterprise II, 478 U.S. at 12-13 (holding that First Amendment right of access applies

to preliminary hearing in criminal case and observing that “the absence of a jury, long

recognized as an inestimable safeguard against the corrupt or overzealous prosecutor and against

the compliant, biased, or eccentric judge, makes the importance of public access to a preliminary

hearing even more significant”) (emphasis added and citation and internal marks omitted). 2


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  See also In re Globe Newspaper Co., 729 F.2d 47, 52 (1st Cir. 1984) (“The same policy
concerns that the Supreme Court identified when it found that the public has a First Amendment
right of access to criminal trials . . . operate in pretrial proceedings. The decision to release on
bail an accused who subsequently flees the jurisdiction may effectively end the trial before it has
begun; the decision to hold an accused without bail deprives of his liberty a citizen who has not
yet been convicted of a crime. In either case, the bail decision is one of major importance to the


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       These Video Exhibits were entered as exhibits in support of the Government’s request

that Defendant be detained pending trial. They therefore satisfy the experience and logic test and

fall under the First Amendment right of access.

               2.      The First Amendment access right cannot be overcome on this record

       Because this constitutional right of access applies to the Video Exhibits, the Court should

release them unless keeping them from the public “is essential to preserve higher values and is

narrowly tailored to serve that interest.” Dhiab, 852 F.3d at 1102 (Williams, J., concurring).

Specifically, to overcome the constitutional access right, the party seeking closure must

demonstrate that:

           1. There is a substantial probability of prejudice to a compelling interest
              if the right is not limited. Press-Enterprise II, 478 U.S. at 13-14.

           2. There is no alternative to a limitation of the access right that will
              adequately protect against the threatened harm. Press-Enterprise II,
              478 U.S. at 13-14; Robinson, 935 F.2d 282, 289-90 (D.C. Cir. 1991).

           3. Restricting access will effectively protect against the threatened harm.
              Press-Enterprise II, 478 U.S. at 14; Robinson, 935 F.2d at 291-92.

           4. The restriction on access is narrowly tailored to minimize the harm to
              the public’s access rights. Press-Enterprise II, 478 U.S. at 13-14;
              Robinson, 935 F.2d at 287.

       Nothing on the record suggests that keeping the Video Exhibits from the public is

essential to preserve higher values. Moreover, even if the Government or the Defendant could

assert a potential risk of harm, and they cannot, they additionally would need to demonstrate that

alternative measures cannot adequately redress that risk. Id. at 290; cf. In re NBC, 653 F.2d 609,

613-17 (D.C. Cir. 1981) (applying this requirement to common law access test). At no point in

any of the Capitol Cases has the prosecution or defense attempted to make that showing.


administration of justice, and openness will help to assure the public that the decision is properly
reached.”).


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        Because the First Amendment right of access applies to the Video Exhibits, and there are

no findings on the public record demonstrating that continuing to withhold them is essential to

preserving any higher values, the Court should grant access to the Video Exhibits immediately.

        B.      The Court Should Release The Video Exhibits Under The Common Law

        The Video Exhibits also should be released pursuant to the common law right of access.

“Although [this] right is not absolute, there is a strong presumption in its favor, which courts

must weigh against any competing interests.” Metlife, 865 F.3d at 663. Like the constitutional

right of access, courts apply the common law right of access in a two-stage analysis. First, courts

determine whether the records at issue are “judicial records” to which there is a “strong

presumption” in favor of access. Id. at 665-67. Once a court makes the determination that an

exhibit or filing is a “judicial record,” it applies the six-factor test set out in United States v.

Hubbard to determine whether the party seeking closure has rebutted the “strong presumption”

of public access. 650 F.2d 293, 317-21 (D.C. Cir. 1980).

        For precisely the same reasons that Chief Judge Howell articulated in the Jackson case,

the Video Exhibits are judicial records to which the public has a presumptive right of access

under the common law. See Jackson, 2021 U.S. Dist. LEXIS 49841, at *13-14 & n.3 (stating

that “[d]ocuments and other materials filed in court intended to influence the court are judicial

records” and clarifying that whether Video Exhibits were “filed on the public docket has no

bearing on whether they are judicial records, since they are not in a format amenable to filing on

the Court’s Case Management/Electronic Filing (CM/ECF) system”). Neither the Defendant nor

the Government can possibly rebut the resulting presumption of access under the Hubbard test.

See Jackson, 2021 U.S. Dist. LEXIS 49841, at *13-24.




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       Moreover, as the D.C. Circuit has recognized, there is a particular “need for public access

in those instances where the documents at issue are specifically referred to in the trial judge’s

public decision.’” EEOC v. Nat’l Children’s Ctr., 98 F.3d 1406, 1409 (D.C. Cir. 1996) (internal

marks omitted) (quoting Hubbard, 650 F.2d at 318). Here, the Court referred to video footage

throughout its decision to order Defendant’s detention pending trial. See Mem. Op., Dkt. 60.

This Court therefore should grant public access to the Video Exhibits in this case pursuant to the

common law as well.

II.     The Court Should Set Aside The Standing Order

       In releasing the Video Exhibits in this case, the Court also should set aside the Standing

Order, as it does not provide the public with access to the Video Exhibits consistent with the

First Amendment and common law. The Standing Order provides that the Court should (1) give

the Government no less than 3 days to place the videos on an electronic “drop box”; (2) allow the

Government to make the videos accessible only to “credentialed” members of the press; and

(3) presumptively prohibit the press from recording, copying, downloading, transmitting, or

otherwise publishing the videos to the public. See Standing Order at 5-6. Each of these

provisions violates the First Amendment right of access. This Court therefore should exercise its

authority and set it aside in this case. See, e.g., United States v. Ray, 375 F.3d 980, 995 (9th Cir.

2004) (assessing constitutionality of challenged standing order); United States v. Zingsheim, 384

F.3d 867, 870 (7th Cir. 2004) (describing standing order as “problematic” and holding that the

court can “address the legal status of the order in the course of assessing its application” in a

particular case).




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       A.       The Standing Order Fails To Provide Contemporaneous Access

       The Standing Order first fails by ignoring the principle that the right of access to court

records and proceedings is a right of contemporaneous public access. The Standing Order

contemplates that the Government’s “drop box” system will not make these Video Exhibits

available to the public until “at least 72 hours” after the Court has ordered their release “in light

of the possible need for redactions (e.g., personal identifiable information) and uploading of

voluminous numbers of exhibits.” See Standing Order at 3. But because the Video Exhibits are

subject to the First Amendment and common law right of access, delayed release by default is

simply not lawful. “[T]he presumption of access normally involves a right of contemporaneous

access.” In re Cont’l Ill. Sec. Litig., 732 F.2d 1302, 1310 (7th Cir. 1984) (emphasis added); see

also Courthouse News Serv. v. Planet, 947 F.3d 581, 594 (9th Cir. 2020) (“a necessary corollary

of the right to access is a right to timely access”); Lugosch v. Pyramid Co., 435 F.3d 110, 126

(2d Cir. 2006) (“Our public access cases and those in other circuits emphasize the importance of

immediate access where a right to access is found.”) (emphasis added). The Court should

therefore set the Standing Order aside and order the Government to release the Video Exhibits

immediately.3

       B.       The Standing Order Fails To Provide Access To The General Public

       The Standing Order also falls short of the First Amendment by relying on a system for

releasing videos – the Government’s electronic “drop box” – that fails to provide access to the



3
 The Standing Order’s failure to provide prompt access is even more apparent now that the Press
Coalition has actually submitted applications pursuant to the Standing Order. The Clerk’s Office
has informed undersigned counsel that it will handle each access application as a separate
miscellaneous action and that it will not open such an action until it receives a filing fee, which it
accepts only via check or money order. In practice, therefore, the process of applying itself
holds up access to video exhibits by multiple days on top of the 72-hour delay addressed above.



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general public. In proposing the “drop box” system, the Government informed the Chief Judge

that it may be incapable of providing access to “the general public” if requests become “too

voluminous.” See Gov’t Resp. to Court’s May 5, 2021 Order, 4 n.2, In re Press & Public Access

to Video Exhibits in the Capitol Riot Cases, No. 21-mc-46-BAH (D.D.C. May 6, 2021), Dkt. 5.

Rather than require the Government to put forward a better system that provides access to the

press and public on equal terms, or accept the Press Coalition’s offer to assist, 4 however, the

Court provided for narrowly restricting access and leaving the technical issues to the prosecution.

It ordered the Government to “make the video exhibit available to any member of the media with

necessary access credentials provided by the government.” Standing Order at 6 (emphasis

added).

          Providing access to the “credentialed” press but not to the general public violates the First

Amendment. As the Second Circuit explained in Huminski v. Corsones, which concerned the

exclusion of a member of the general public from Vermont state courthouses, “the exclusion of

any person undermines right-of-access principles in much the same way, if not to the same

extent, as a blanket denial of access does: You cannot foster an appearance of fairness, thereby

boosting community trust in the administration of justice, unless any member of the public – not

only members of the public selected by the courts themselves – may come and bear witness to

what happens beyond the courtroom door.” 396 F.3d 53, 83-84 (2d Cir. 2004) (emphasis added);

see also Co. Doe v. Pub. Citizen, 749 F.3d 246, 263 (4th Cir. 2014) (“[T]he right of access is



4
 The Press Coalition specifically offered that ProPublica, an independent, nonprofit news
organization, could “serve as the press representative and take on the responsibility of receiving
video exhibits from the Government, coordinating distribution of the videos to other press
organizations, and making the videos accessible to the general public.” See Mot. to Access
Video Exhibits at 8, In re Press & Public Access to Video Exhibits in the Capitol Riot Cases, No.
21-mc-46-BAH (D.D.C. May 3, 2021).



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widely shared among the press and the general public alike, such that anyone who seeks and is

denied access to judicial records sustains an injury.”).

       As the First Amendment and common law guarantee access to the Video Exhibits, this

Court should not permit the Government to exclude the general public. For this reason as well,

the First Amendment and common law require the Court to set aside the Standing Order.

       C.      The Standing Order Presumptively Bars Constitutionally Protected Speech

       Finally, the Standing Order violates the First Amendment by its default provision

enjoining the press from recording, copying, downloading, transmitting, or otherwise publishing

the videos to the public. See Standing Order at 6.5 In a series of cases over the past 50 years, the

Supreme Court has strongly established that when the press “lawfully obtains truthful

information about a matter of public significance then state officials may not constitutionally

punish publication of the information, absent a need to further a state interest of the highest

order.” Fla. Star v. B.J.F., 491 U.S. 524, 533 (1989). As the Court summarized those cases:

               In Cox Broadcasting Corp. v. Cohn, 420 U.S. 469 (1975), we
               found unconstitutional a civil damages award entered against a
               television station for broadcasting the name of a rape-murder
               victim which the station had obtained from courthouse records. In
               Oklahoma Publishing Co. v. Oklahoma County District Court, 430
               U.S. 308 (1977), we found unconstitutional a state court’s pretrial
               order enjoining the media from publishing the name or photograph
               of an 11-year-old boy in connection with a juvenile proceeding
               involving that child which reporters had attended. Finally, in
               Smith v. Daily Mail Publishing Co., 443 U.S. 97 (1979), we found
               unconstitutional the indictment of two newspapers for violating a
               state statute forbidding newspapers to publish, without written
               approval of the juvenile court, the name of any youth charged as a
               juvenile offender. The papers had learned about a shooting by
               monitoring a police band radio frequency and had obtained the

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 This provision also conflicts with the common law, which provides “‘a general right to inspect
and copy public records and documents, including judicial records and documents.’” Leopold v.
United States, 964 F.3d 1121, 1127 (D.C. Cir. 2020) (Garland, J.) (emphasis added) (quoting
Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 597 (1978)).



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                name of the alleged juvenile assailant from witnesses, the police,
                and a local prosecutor.

Id. at 530-31. Here, too, an order permitting journalists to view video exhibits, but forbidding

them from rebroadcasting the videos, violates the First Amendment. The ban on redistributing

Video Exhibits of paramount public concern does not advance any cognizable interest, let alone

a state interest of the highest order.

        To the contrary, the Government’s interest here lies in favor of allowing the press to

rebroadcast the Video Exhibits. As the Supreme Court recognized in its seminal access ruling,

the press often “function[s] as surrogates for the public” in providing access to judicial

proceedings, and “public understanding of the rule of law” necessarily depends on ensuring that

the press can “report what [they] have seen and heard.” Richmond Newspapers v. Virginia, 448

U.S. 555, 572-73 (1980). Indeed, “[t]o work effectively, it is important that society’s criminal

process satisfy the appearance of justice, and the appearance of justice can best be provided by

allowing people to observe it.” Id. at 571-72 (emphasis added). In granting access to the Video

Exhibits, or any court record for that matter, the presumption favors republication of those

records for the public good.

        Once journalists have access to video released by the Government, a judicial prohibition

against including them in news reports would act as a direct prior restraint on the press. See,

e.g., United States v. Smith, 123 F.3d 140, 155 n.17 (3d Cir. 1997) (“Under prior restraint law,

orders prohibiting the media from publishing information already in its possession are strongly

disfavored.”). In this respect as well, the Standing Order exceeds the courts’ authority under the

First Amendment. As with punishing publication after the fact, the Constitution does not permit

a prior restraint absent a state interest of the highest order. See Smith, 443 U.S. at 102 (noting




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that a prior restraint “requires the highest form of state interest to sustain its validity” and that

“[p]rior restraints have been accorded the most exacting scrutiny”). No such interest exists here.

        In establishing a presumption against publication, the Standing Order flips the First

Amendment on its head. For this reason as well, the Court should set aside the Standing Order

and enter its own order granting access to the Video Exhibits in this case.

                                           CONCLUSION

        For the foregoing reasons, the Press Coalition respectfully requests that the Court set

aside the Standing Order and order the immediate and full release the Video Exhibits.

         Dated: June 7, 2021                 Respectfully submitted,

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